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IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF VIRGINIA
Richmond Division

JOHN TAYLOR,
on behalf of himself and
others similarly situated,

Plaintiff,
v. Civil Action No. 3:18cv378
TIMEPAYMENT CORPORATION,

Defendant.

MNMM
Plaintiff John Taylor brings this five-count Complaintl against Defendant Timepayment

Corporation (“Timepayment”), alleging various violations under the Consumer Leasing Act
(“CLA”), 15 U.S.C. § 1667 et seq.; the Truth in Lending Act (“TILA”), 15 U.S.C. § 160 et seq.;

and Virginia state law. (See Compl., ECF No. 1.) Timepayment moved to dismiss Taylor’s

Complaint, arguing that Taylor lacked Article III standing2 under Federal Rule of Civil

 

' Taylor’s claims arise out of a contractual agreement (the “Agreement”) between Taylor
and Timepayment related to Taylor’s acquisition of a heat pump for his home. (See Compl.,
ECF No. 1; Agr., ECF No. 1-1.) The Agreement pertained to Taylor’s payment for a heat pump
to Timepayment. Timepayment specializes in financing for equipment such as computers,
powersports vehicles, home alarm monitoring equipment, and, HVAC and heating and cooling
equipment,

The first page of the Agreement contains a heading that reads, “Consumer Equipment
Lease,” (Agr. l (capitalization altered and bolding removed)), although subsequent pages refer to
the parties as “buyer” and “seller,” (id. 5, 6, 7). Taylor characterizes the Agreement as a
“consumer credit sale[] disguised as [a] lease[] for personal property.” (Compl. 11 5, ECF No. 1.)
The nature of the Agreement shapes the dispute in this case.

2 To establish standing pursuant to Article III of the United States Constitution, a plaintiff
must show that she or he “(1) suffered an injury in fact, (2) that is fairly traceable to the
challenged conduct of the defendant, and (3) that is likely to be redressed by a favorable judicial
outcome.” Spokeo, Inc. v. Robins, 136 S. Ct. 1540, 1547 (2016), as revised (May 24, 2016)
(citing Lujan v. Defs. Of Wildlz'fe, 504 U.S. 555, 560-61 (1992)).

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Procedure 12(b)(1)3 and failed to state a claim under Rule 12(b)(6) 4 (the “Motion to Dismiss”).
(ECF No. 16.)

The Court referred the Motion to Dismiss to the Honorable David J. Novak, United States
Magistrate Judge, pursuant to 28 U.S.C. § 636(b)(1)(B).5 (ECF No. 25.) On February 5, 2019,
the Magistrate Judge filed a Report and Recommendation (“R&R”). (ECF No. 30.) After

conducting a thorough analysis, the Magistrate Judge recommended that the Court grant the

 

3 “[A] party may assert the following defense[] by motion: (1) lack of subject-matter
jurisdiction.” Fed. R. Civ. P. 12(b)(l). In a motion to dismiss under Federal Rule of Civil
Procedure 12(b)(l) challenging the Court’s subject-matter jurisdiction, the burden rests with the
plaintiff, as the party assertingjurisdiction, to prove that federal jurisdiction is proper. See Int ’l
Longshoremen ’s Ass’n v. Va. Int’l Terminals, Inc., 914 F. Supp. 1335, 1338 (E.D. Va. 1996)
(citing McNutt v. Gen. Motors Acceptance Corp., 298 U.S. 178, 189 (1936)); Adams v. Bain, 697
F.2d 1213, 1219 (4th Cir. 1982). I-Iere, the Rule 12(b)(1) motion attacks the complaint on its
face, asserting that the complaint fails to state a claim upon which subject-matter jurisdiction can
lie. See Int'l Longshoremen ’s Ass ’n, 914 F. Supp. at 133'8; see Adams, 697 F.2d at 1219. In
such a challenge, a court assumes the truth of the facts alleged by plaintiff, thereby functionally
affording the plaintiff the same procedural protection she or he would receive under Rule
12(b)(6) consideration. See Int ’l Longshoremen ’s Ass ’n, 914 F. Supp. at 1338; see also Beck v.
McDonald, 848 F.3d 262, 270 (4th Cir. 2017) (noting, under an analysis of standing guided by
Spokeo, that general factual allegations of injury may suffice at the pleading stage because the
court may accept plausible facts as true).

4 Federal Rule of Civil Procedure 12(b)(6) allows dismissal for “failure to state a claim
upon which relief can be granted.” Fed. R. Civ. P. 12(b)(6).

5 Section 636(b)(1)(B) provides, in relevant part:

(b)(l) Notwithstanding any provision of law to the contrary_
(B) a judge may also designate a magistrate judge . . . to submit to a judge
of the court proposed findings of fact and recommendations for the
disposition, by ajudge of the court, of [pretrial motions such as motions to

dismiss for failure to state a claim upon which relief can be granted or
motions for summary judgment.]

28 U.s.c. § 636(b)(1)(13).

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Motion to Dismiss as to Counts I, II, and IV (the “Standing Counts”)6 and deny the Motion to
Dismiss as to Counts III and V (the “Rule 12(b)(6) Counts”).7

By copy of the R&R, the Magistrate Judge advised each party of the right to file written
objections to the findings and recommendations made in the R&R. 28 U.S.C. § 636(b)(1). On
February 19, 2019, Timepayment and Taylor each filed timely objections to the R&R. (ECF
Nos. 31, 31.) Taylor filed a brief opposing Timepayment’s Objection to the R&R. (ECF No.
33.) Timepayment responded, and Taylor replied. (ECF Nos. 34, 35.) The Court has conducted
a de novo review of the R&R and each party’s obj ections.

I. The Court Will Overrule Timepayment’s Obiections
Timepayment lodges two objections, both of which the Court overrules. Timepayment

raises the following arguments: (1) the Agreement does not constitute a credit sale subject to

 

6 Timepayment challenged these counts under Rule 12(b)(1), arguing that Taylor lacked
standing under Article III of the United States Constitution. U.S. Const. Art. III, § 2.

As to Count I (the CLA disclosure count), the R&R concluded that Taylor failed to show
an injury in fact, a necessary element to satisfy Article III’s standing test, because the alleged
disclosure violations were materially divorced from any alleged harm. Spokeo, 136 S. Ct. at
1 549.

As to Count II (the CLA early termination count), the R&R recommended dismissal
because Taylor “alleged a ‘speculative, hypothetical injury’ that falls short of Article III’s case-
or-controversy requirement” that does not suffice to meet Article III’s requirement that an injury
exist or be imminent to confer standing. (R&R 19, ECF No. 30); Spokeo, 136 S. Ct. at 1548.

Finally, the R&R stated that Count IV (the Virginia UCC Count) must fail because the
Virginia UCC provisions that Taylor relied on in his Complaint “only accrue upon default,”
meaning the “allegations in Count IV [constitute] another purely speculative, hypothetical injury
insufficient to confer standing.” (R&R 22); Spokeo, 136 S. Ct. at 1548.

7 Timepayment challenged these counts under Rule 12(b)(6), arguing that Taylor failed to
state a plausible claim for relief.

As to Count III (the TILA disclosures count), the R&R concluded that Taylor plausibly
pled facts in support of his contention that the Agreement constitutes a credit sale subject to
'I`ILA provisions, meaning that Taylor can pursue his TILA disclosures claim.

Finally, the R&R recommended that Count V (the Virginia usury count) proceed because
Virginia’s usury law applies to credit sales under TILA, and Taylor plausibly pled that the
Agreement constitutes a credit sale subject to TILA.

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TILA because the value of the purchase option may equal fair market value of the heat pump at
the end of the contractual term; and, (2) Virginia usury law does not apply to the Agreement
because Virginia’s usury law does not apply to lease agreements Timepayment asks the Court
to overrule the R&R as to these recommended findings, and instead deny the Motion to Dismiss
as to the TILA disclosures count (Count III) and the Virginia usury count (Count V).

In Count III, 'l`aylor claims that Timepayment did not comply with the disclosure
requirements contained in TILA § 163 8(a) because Timepayment failed to disclose the true
financing cost of the heat pump. Taylor contends that Timepayment failed to disclose the
interest rate in the Agreement, leaving him “unaware of the true financing cost associated with
his purchase of the heat pump.” (Compl. 1[ 66.)

In its Motion to Dismiss, Timepayment challenged Count III under Federal Rule of Civil
Procedure 12(b)(6),8 arguing that Taylor cannot bring any TILA claims because the Agreement
does not constitute a credit sale as defined within TILA or its implementing regulation. (Mem.
Supp. Mot. Dismiss 18-19, ECF No. 17 .) TILA and its implementing regulation, 12 C.F.R.

§ 1026.2(a) (“Regulation Z”), define the term “credit sale” to include:

any contract in the form of a bailment or lease if the bailee or lessee contracts to

pay as compensation for use a sum substantially equivalent to or in excess of the

aggregate value of the property and services involved and it is agreed that the bailee

or lessee will become, or for no other or a nominal consideration has the option to

become, the owner of the property upon full compliance With his obligations under

the contract.

15 U.S.C. § 1602; see also 12 C.F.R. § 1026.2(a)(16). Specifically, Timepayment highlighted

 

8 For the purpose of the Rule 12(b)(6) Motion to Dismiss, the Court will accept the well-
pleaded factual allegations in the Complaint as true, and draw all reasonable inferences in favor
of Plaintiffs. Kensz'ngton Volunteer Fire Dep ’t, Inc. v. Montgomery Cty., Md., 684 F.3d 462, 467
(4th Cir. 2012) (“[A] court ‘must accept as true all of the factual allegations contained in the
complaint’ and ‘draw all reasonable inferences in favor of the plaintiff.”’ (quoting E.I. du Pont
de Nemours & Co. v. Kolon Indus., Inc., 637 F.3d 43 5, 440 (4th Cir. 2011))).

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the Agreement’s purchase option provision, Which allows Taylor to purchase the heat pump “for
its fair market value, not to exceed 3 regular monthly lease payments”9 at the end of the monthly
payment schedule. (Agr. 1, ECF No. 1-1.) According to Timepayment, a purchase option
valued at fair market value cannot constitute “nominal consideration” as a matter of law,
meaning that the Agreement would fall outside TILA’s scope. (Mem. Supp. Mot. Dismiss 19
(citing VA. CoDE ANN. § 8.1A-203).)

In considering Timepayment’s arguments, the Magistrate Judge evaluated the purchase
option provision, correctly concluding that, although the value of the purchase option was
uncertain, it would equal either the lower of the fair market value of the heat pump at the end of
the payment schedule under the Agreement or $1,231.32. The R&R concluded: “Viewing the
facts in the light most favorable to Plaintiff, as the Court must do at this stage of the litigation,
$1,231.32 may represent an amount substantially less than the fair market value of the heat pump
at the end of the lease term, thereby constituting nominal consideration.” (R&R 28.) Because
Taylor may become the owner of the heat pump at the end of the Agreement schedule by paying
only nominal consideration, the Agreement may constitute a credit sale agreement subject to
TILA.

In its Objection to the R&R, Timepayment argues that because the purchase option “is
tied to the fair market value of the heat pump at lease-end, the consideration required for Plaintiff

to exercise the purchase option is not nominal consideration as a matter of law.” ('l`imepayment

 

9 Three monthly payments equals $l,231.32. The Agreement does not provide this
figure, either in the purchase option provision, or elsewhere, meaning the borrower must cross-
reference other provisions of the Agreement to calculate this maximum total amount.

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Obj. 3, ECF No. 31.) This argument simply reiterates Timepayment’s prior positions,'° and
more importantly, misses the mark. The R&R did not determine whether fair market value
necessarily constitutes nominal consideration, and the Court need not resolve that question here.
Instead, the R&R states that, at this procedural stage, and without knowing the future fair market
value of the heat pump, the maximum amount that Taylor would have to pay to own the heat
pump ($1,231.32) may be significantly lower than fair market value, and, as a result, may
constitute only nominal consideration. The R&R reached this conclusion by carefully evaluating
the sparse caselaw on point, and thoughtfully weighing analogous transactional law. Because a
possibility exists that Taylor’s purchase option will require only nominal consideration, the R&R
correctly recommended a finding that Taylor plausibly pled facts in support of construing the
Agreement as a credit sale under TILA.

Next, Timepayment argues that the R&R erred in concluding that the Virginia usury
claim (Count V) survives the Rule 12(b)(6) challenge In support, Timepayment renews its
contention that the Agreement constitutes a lease, not a credit sale, and claims that Virginia
usury law does not apply to leases.ll Additionally, even assuming the Agreement constitutes a
credit sale, Timepayment argues, “Virginia usury law does not apply to credit sales.”
(Timepayment Obj. 7 (citing Galloway v. Bluegreen Vacation Club, No. 3 :l lcv481, 2012 WL

113862, at *l (E.D. Va. Jan. 13, 2012).) But Timepayment, again, merely restates the positions

 

'° Specifically, the Motion to Dismiss posited that, under Virginia law, “[a]dditional
consideration is not nominal if . . . the price is stated to be the fair market value of the goods
determined at the time the option is to be performed.” (Mem. Supp. Mot. Dismiss 19 (alterations
in original) (quoting VA. CODE ANN. § 8.lA-203(d)(2)).) In its Objection to the R&R,
Timepayment again relies on this Virginia statute to argue that a purchase option valued at fair
market value cannot constitute “nominal consideration as a matter of law.” (Timepayment Obj.
3 (citing VA. CODE ANN. § 8.1A-203(d)(2)).)

" As discussed above, this argument cannot prevail at this procedural juncture.

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it took in its Motion to Dismiss, all of which the Magistrate Judge thoroughly considered and
rejected in the R&R.l2 Taylor plausibly pleads facts to support a claim that the Agreement
constitutes a credit sale subject to Virginia usury law.
II. The Court Will Sustain One of Taylor’s Obiections

In light of recent guidance from the United States Court of Appeals for the Fourth Circuit
published after the Magistrate Judge issued the R&R, Taylor raises several objections.
Considering the Fourth Circuit’s most recent articulation of the law governing standing, the
Court will allow the CLA disclosures count (Count I) to proceed. See Curtz`s v. Propel Property
Tax Fundz'ng, LLC, et al., 915 F.3d 234 (4th Cir. 2019).13

A. Relevant Factual and Procedural Background

The Consumer Lease Act (“CLA”) requires lenders to make certain disclosures to
borrowers. 14 15 U.S.C. § 1667 et seq. Plaintiffs assert that the Agreement violates the CLA and
its implementing regulation because it fails to segregate at least four of the required disclosures.
They also suggest that many of the disclosures themselves are violative. For instance, in Count

I, Taylor alleges that the disclosures Timepayment provided did not comply with CLA

 

12 For exarnple, the Magistrate Judge considered Timepayment’s argument that
Galloway, 2012 WL 113862, supports its position that Virginia usury law does not apply to
credit sales. Afcer thoroughly analyzing the possible application of the time price differential
theory, the R&R ultimately rejected its application here because the parties did not “fairly
agree[] on” the financing terms of the Agreement (R&R 34 (quoting Graeme v. Adams, 64 Va.
225, 234 (1873)).) Finding this analysis persuasive, the Court finds no error.

13 The Magistrate Judge issued the R&R on February 5, 2019. The Fourth Circuit
published Curtis v. Propel Property Tax Funding, LLC on February 6, 2019, 915 F.3d 234.

14 The Code of Federal Regulations contains the implementing regulations pertaining to
the CLA (“Regulation M”). 12 C.F.R. § 1013 et S€q.

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§§ 1667a(5) and (9) or Regulation M § 1013.3(a)(2) and § 1013.4(0), (e), (i), and (j). Section
1013.4(e) requires a lender to disclose the

total of payments, with a description such as “the amount you will have paid by the

end of the lease.” This amount is the sum of the amount due at lease signing (less

any reftmdable amounts), the total amount of periodic payments (less any portion

of the periodic payment paid at lease signing), and other charges under paragraphs

(b), (c), and (d) of this section.
12 C.F.R. § 1013.4(e). Taylor alleges that the Agreement contains a heading that reads:
“TOTAL OF PAYMENTS/PAPER BILLING FEE.” (Agr. 1.) Beneath this heading, a
portion reads: “The amount l will have paid by the end of the Lease: $8,619.24.”15 (Id.) But the
$8,619.24 figure “equals the sum of periodic payments (21 x $410.44), not the sum of all
payments due ‘by the end of the lease.”’ (Compl. 11 103.) Thus, Taylor argues, this number does
not represent the “total amount of payments” due under the terms of the Agreement as required
by Regulation M_nor as the heading “TOTAL OF PAYMENTS[]” in the Agreement itself
suggests-because it excludes the initial payment and other contractual costs, such as the cost of
purchasing or returning the heat pump. 12 C.F.R. § 1013.4(e).

In its Rule 12(b)(1) Motion to Dismiss,16 Timepayment argued that, even assuming the

disclosures did not comply with the CLA provisions or its pertinent regulations, Taylor’s claim

 

15 Directly below this sentence, the following words appear in smaller lettering: “(Total
Monthly Lease Payment x Lease Term).” (Agr. 1.)

16 Here, Timepayment’s Rule 12(b)(1) Motion to Dismiss attacks the Complaint on its
face, asserting that the complaint fails to state a claim upon which subject-matter jurisdiction can
lie. See Int’l Longshoremen ’s Ass ’n, 914 F. Supp. at 1338; see also Adams, 697 F.2d at 1219. In
such a challenge, a court assumes the truth of the facts alleged by plaintiff, thereby functionally
affording the plaintiff the same procedural protection he or she would receive under Rule
12(b)(6) consideration. See Int ’l Longshoremen ’s Ass ’n, 914 F. Supp. at 1338; also Beck v.
McDonald, 848 F.3d at 270.

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must fail because Taylor lacks standing under Article III of the United States Constitution.17
U.S. Const. Art. III, § 2. Specifically, Timepayment argued that Taylor failed to state an injury
in fact.

Applying then-existing case law, the R&R ultimately concluded that Count I failed
because, even assuming that Timepayment violated the CLA provisions, Taylor “failed to allege
how any deficiencies with the disclosures deceived him or left him oblivious to the true cost of
the lease_the type of injury that Congress intended the CLA to prevent.” (R&R 12 (citing
Cottle v. Monitech, Inc., No. 7:17cv137, 2017 WL 6519024 (E.D. N.C. Dec. 20, 2017), aj”’d,
733 F. App’x 136 (4th Cir. 2018) (affirming, per curium, the district court)). Given the Fourth
Circuit’s most recent evaluation of standing in Curtis, and for the reasons stated below, the Court
concludes that the CLA disclosure count (Count I) survives the Rule 12(b)(1) challenge.

B. Legal Standard: Standing

The Fourth Circuit has reiterated that a substantive statutory violation may, without more,
confer standing to an injured party. Curtis, 915 F.3d at 241. As to procedural violations, in
Spokeo, the Supreme Court discussed the manner in which a plaintiff must allege “injury in fact”
to establish standing for what courts ca11 a “procedural violation” of statutory requirements The
Supreme Court continued that, to establish an injury in fact, a plaintiff must demonstrate that she
or he suffered “‘an invasion of a legally protected interest’ that is ‘concrete and particularized’

and ‘actual or imminent, not conjectural or hypothetical.”’ Spokeo, 136 S. Ct. at 1548 (quoting

 

17 To establish Article III standing, a plaintiff must show that she or he “(l) suffered an
injury in fact, (2) that is fairly traceable to the challenged conduct of the defendant, and (3) that
is likely to be redressed by a favorable judicial outcome.” Spokeo, 136 S. Ct. at 1547 (citing
Lujan, 504 U.S. at 560-61).

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Lujan, 504 U.S. at 560). In doing so, the Spokeo court refined standing law by defining
“particularized”18 and “concrete” with specificity.

The Spokeo court stated that for an injury to be “concrete,” it must be “de facto,”
meaning that it must be “real,” and not “abstract.” Spokeo, 136 S. Ct. at 1548 (quotation
omitted). That said, an injury need not be “tangible” in order to be “concrete.” Id. at 1549
(quotation omitted). An intangible injury may constitute injury in fact. Ia'. The Spokeo court
noted that even the risk of real harm might satisfy concreteness. Id. In evaluating whether an
intangible injury satisfies the “concreteness” requirement, the Supreme Court reiterated two
important considerations: (1) history, which may reveal “whether an alleged intangible harm has
a close relationship to a harm that has traditionally been regarded as providing a basis for a
lawsuit in English or American courts;” and, (2) the judgment of Congress, which “‘has the
power to define injuries and articulate chains of causation that will give rise to a case or
controversy where none existed before.”’ Ia'. (quoting Lujan, 504 U.S. at 580 (Kennedy, J.,
concurring in part and concurring in judgment)); see also Curtis, 915 F.3d at 241 (recognizing
Congressional authority to define substantive rights, the violation of which confer Article III
standing).

With respect to this congressionally-defined, or statutory, standing, the Spokeo court
explained: “Article III standing requires a concrete injury even in the context of a statutory

violation.”19 Id. Thus, a plaintiff “could not, for example, allege a bare procedural violation,

 

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18 The Spokeo court first found that, for an injury to be particularized,’ it ‘must affect
the plaintiff in a personal and individual way,”’ but particularity does not drive this analysis See
Spokeo, 136 S.Ct. at 1548 (citing Lujan, 504 U.S. at 560 n.l).

19 Spokeo favorably discussed several cases that upheld Congressional power to create a
legally cognizable right to specific information, the deprivation of which would constitute a
concrete injury sufficient to satisfy Article III. Many courts describe this statutory standing as

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divorced from any concrete harm, and satisfy the injury-in-fact requirement of Article III.” Id.
(citing Summers v. Earth Island Inst. , 555 U.S. 488, 496 (2009) (“[D]eprivation of a procedural
right without some concrete interest that is affected by the deprivation . . . is insufficient to create
Article III standing.”)).

The Spokeo court observed that in cases in which “harms may be difficult to prove or
measure[,]” id. at 1549 (citing Restatement (First) of Torts §§ 569 (libel), 570 (slander per se)
(193 8)), “the violation of a procedural right granted by statute can be sufficient . . . [and] a
plaintiff in such a case need not allege any additional harm beyond the one Congress has
identified,” id. at 1544 (citing Akins, 524 U.S. at 20~25). A plaintiff may therefore suffer “a
concrete informational injury where [she or] he is denied access to information required to be
disclosed by statute, and [she or] he ‘suffers, by being denied access to that information, the type

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of harm Congress sought to prevent by requiring disclosure. Dreher v. Experian Info. Sols.,
Inc., 856 F.3d 337, 345 (4th Cir. 2017) (quoting Friends of Am'mals v. Jewell, 828 F.3d 989, 992
(D.C. Cir. 2016)). In such a situation, a procedural injury can become constitutionally
cognizable when “a person lack[s] access to information to which [she or] he is legally entitled
and . . . the denial of that information creates a ‘real’ harm with an adverse effect.” Id. at 345
(citing Spokeo, 136 S. Ct. at 1548; Akins, 524 U.S. at 21).

C. Taylor Plausibly Alleges Facts to Establish Article III Standing

Taylor’s Objection asserts that the R&R erred in construing the alleged violations as

procedural rather than substantive Taylor draws analogies to, and relies heavily on, the Fourth

 

flowing from an “informational injury.” See Spokeo, 524 U.S. at 1544 (citing Fed. Election
Comm ’n v. Akins, 521 U.S. 20-25 (1998) (upholding the lower court’s finding of a concrete
injury when defendants did not give plaintiff voters information about candidates as required by
federal law)).

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Circuit’s analysis in Curtz's, Which postdates the R&R: “The Curtz's complaint centered on the
defendant’s multi-year installment agreement containing restrictions specifically prohibited by
the [Electronic Funds Transfer Act], which violations the Fourth Circuit found to be
‘substantive’ rather than ‘procedural’ due to their relationship to the purpose of the statute.”
('I`aylor Obj. 7, ECF No. 32 (citing Curtis, 915 F.3d at 241).) The Court finds Curtis ’s
discussion of substantive rights instructive, and thus Taylor’s arguments persuasive

In Curtis, the Fourth Circuit considered whether a plaintiff had standing to bring suit
based on the defendant’s alleged violations of the Electronic Funds Transfer Act [EFTA]. See
generally Curtis, 915 F.3d 234. The plaintiff, who owed certain local taxes, had entered into a
tax payment agreement with the defendant20 Id. at 237. Relevant here, the plaintiff alleged that
the lender defendant required him to repay the defendant “by preauthorized electronic funds
transfer (“EFTs”) and that the required authorization form [did] not contain a space that would
allow him to indicate that he declined to do so.” Id. at 23 8. According to the plaintiff, the
defendant’s actions violated the EFTA because the EFTA specifically proscribed a lender from
conditioning the extension of credit on the borrower’s acquiescence to preauthorized EFT.
Curtis, 915 F.3d at 241 (citing 15 U.S.C. § 1693k). The defendant argued that, even if it violated
the EFTA, the violation constituted a mere procedural violation, which alone would not confer
standing,

The Fourth Circuit disagreed with the defendant, finding that the lender violated the
plaintiffs substantive statutory rights when it required preauthorizing electronic funds transfers.

Id. The Curtz's court explained: “Congress enacted EFTA to protect ‘individual consumer

 

20 Under these tax payment agreements, “a third party agrees to pay taxes owed to a
locality on behalf of a taxpayer, and the taxpayer agrees to repay the third party in installments,
with fees and interest.” Curtis, 915 F.3d at 238.

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rights’ in the context of electronic fund transfers.” Curtis, 915 F.3d at 241 (quoting 15 U.S.C.
§ 1693(b)). “Among these substantive rights is the right of a consumer to enter into a credit
agreement without being required to agree to preauthorized EFTS. [15 U.S.C.] § l693k. This is
the same right that [the plaintiff'] alleges that [the defendant] violated in its [agreement] with
him.” Id.

Thus, Curtis lends support for Taylor’s argument that, in certain circumstances, a
statutory violation that reaches the very purpose of the statute may constitute a substantive
violation rather than a procedural violation. Notably, in the case at bar, Congress enacted the
CLA “to prevent the ‘deception, misinforrnation, and obliviousness to the true costs of` credit or
lease terms . . . encountered by inexperienced or uninformed consumers.” (R&R 9 (citing
Monz`tech, 2017 WL 6519024 at *3.).) To further this goal, the CLA requires lenders to make
numerous written, and sometimes segregated, disclosures to borrowers.

As alleged in the Complaint, and summarized in the R&R, Taylor plausibly alleges that
Timepayment violated a munber of these requirements Compare, e.g., 12 C.F.R. § 1013.4(e)
(requiring a lender to disclose the total amount due under a lease agreement); with (Agr. 1
(omitting the total amount due under the Agreement).). These purported violations include,
among others: (1) providing misinforrnation, by misleadineg identifying the sum of the monthly

payments as the total amount due under the Agreement;21 and, (2) omitting required information,

 

21 In its Motion to Dismiss, Timepayment argued that the Agreement “conspicuously
disclosed” the total amount due under the Agreement (Mem. Supp. Mot. Dismiss 8.) As to the
monthly payments, the Agreement states: “The amount I will have paid by the end of the Lease:
$8,619.24.” Directly below this sentence, the following words appear in smaller lettering:
“(Total Monthly Lease Payment x Lease Term).” (Agr. 1.)

According to Timepayment, then, the small lettering clarifies that the $8,619.24 figures
refers only to the total amount due in monthly payments. At a minimum, the placement is
awkward. Had the disclosure mimicked the Model Form, for instance, no implication of
deception could arise. (See, e.g., “Model Form,” ECF No. 1-2.) Thus, viewing the facts

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such as the total amount due under the Agreement.22 These alleged violations do not merely
represent a failure to disclose required information; as alleged, they arguably provide inaccurate

information, via questionable provisions,23 which potentially mislead the consumer.

 

favorably to Taylor, as it must, the Court reasonably infers that these dual descriptions of the
$8,619.24 figure may misinform an inexperienced consumer.

Timepayment reiterates that “the amount due at lease signing ($3 84.72) and the total of
periodic payments ($8,619.24) are conspicuously disclosed side-by-side on the first page of the”
Agreement. (Mem. Supp. Mot. Dismiss 8.) Timepayment avers that Taylor only “faults [it] for
failing to add these two numbers together for him.” (Id.) But the CLA requires exactly that of
lenders: that they provide the borrower with the total amount due under the lease, defined as
“the sum of the amount due at lease signing (less any refundable amounts), the total amount of
periodic payments (less any portion of the periodic payment paid at lease signing), and other
charges under paragraphs (b), (c), and (d) of this section.” 12 C.F.R. § 1013.4(e).

Reading the Agreement and the Complaint favorably towards Taylor, the dual
descriptions of the $8,619.24 and the omission of a total amount due under the Agreement could
misinform an “inexperienced or uninformed consumer[]” about the “true cost of credit.”
Monz°tech, 2017 WL 6519024 at *3.

22 While prominently displaying the cost of payments, the Agreement less obviously
discloses the full price of purchasing the heat pump at the end of the twenty-one-month payment
period, (Compl. 1111 44-46, 104-05, 107-08; see also Agr. 1.) Read favorably towards Taylor,
this unclear disclosure exceeds the CLA’s constraints both because the amount is indistinct and
because a heat pump is a necessity, not a “luxury akin to a new automobile or laptop computer.”
(Id. jj 71 .) The purchase of the heat pump at the end of the payment period, realistically, is not
optional. Any homeowner who leases a heat pump for nearly two years will “undoubtedly elect
to purchase that equipmen .” (Id. 11 72.) Read favorably, Timepayment’s minimization of the
payments and costs due after the final monthly payment could mislead a consumer because
buying the heat pump clearly constitutes a “true,” and indeed unavoidable “cost” of the credit
terms.

The Agreement compounds this ambiguity when it, on the second page, includes terms
describing the right to return the equipment, Though the “return of property” provision states
that any return must be at the creditor’s expense, the provision does not clearly outline the
potential costs or logistics, Which would include hiring others to remove the heat pump, fixing
any HVAC changes that result from removal, and purchasing a new heat pump. (Compl. 1[1] 60
n.6, 73-74; Agr. 2.)

Alongside the deemphasized disclosure of a plausibly required purchase (and its cost) and
the cost of an unlikely invocation of the right to return, the Agreement, especially when read
favorably to Taylor, veers even more toward embodying the kind of misinformation and
deception Congress sought to prevent through enactment of the CLA.

23 For instance, Plaintiffs contend that the early termination provision violates the CLA
because it is unreasonable As to early termination, the Agreement would require Taylor to

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Taylor at times describes the disclosures as “misleading[],” (Compl. 1[ 103), and describes
himself as “unaware” of the true financing cost24 associated with purchasing the heat pump, (id.
jj 158).25 The statutory violations, it seems, go to the heart of what the CLA sought to prevent:

deception of, misinformation directed at, and obliviousness of a consumer as to the terms and

 

forfeit all payments made, pay all remaining payments at a 4% discount, and pay for the cost of
removal, or for the cost to purchase if not removed.

24 In his Complaint, Taylor discusses the “true financing cost” of the Agreement, taking
issue with the Agreement’s failure to disclose the Annual Percentage Rate as required under
TILA. (Compl. jH| 183_84 (emphasis added).) 'I`he R&R aptly notes that Taylor alleges only
that he was unaware of the financing cost of this purchase, which seems related to his TILA
claim, but not his CLA claim.

But in articulating the basis for Count I specifically, Taylor avers he “was unaware of the
true financing cost associated with the purchase of his heat pump as a result of Defendant’s
inadequate disclosures.” (Id. jj 15 8.) Although Taylor does not expressly state that he remained
oblivious to the true total cost of the Agreement, the Court draws the reasonable inference that
the CLA violations caused and contributed to Taylor’s obliviousness of the total cost of the
Agreement, including the financing rate. Put differently, because Taylor plausibly remained
unaware of the actual financing cost of the agreement, a favorable inference of the Complaint
reasonably suggests that Taylor remained similarly unaware of the actual total cost of the
Agreement,

25 The Court considers Taylor’s allegations distinguishable from those alleged in
Monitech. 2017 WL 6519024 at *3. The Monitech case involved the terms of monthly
payments for an ignition interlock after a conviction in state court, First, while legally necessary,
the interlock device does not constitute the type of necessity that the heat pump does here. Nor,
commonsensically, would a consumer generally want to purchase an ignition interlock, must less
need to purchase one because, usually, the order requiring an ignition interlock ends when the
probation period ends.

Second, in Monitech, the plaintiff alleged that the CLA violations as to the terms of
payment resulted in her “confilsion.” la'. The Monitech court concluded that confusion did not
equal deception, misinforrnation, or obliviousness. ld. Here, instead, Taylor alleges he remained
“unaware” of the cost of the Agreement by giving examples of how and why, plausibly
suggesting obliviousness for the sake of this Rule 12(b)(1) challenge. (Compl. jj 158.)

Next, the Monitech court stated that the plaintiff had “failed to allege that defendant’s
procedural violations had any adverse effect on her conduct in order to demonstrate an injury in
fact.” Id. Here, Taylor alleges that, had Timepayment properly complied with disclosure
requirements, he would have sought other means of financing the acquisition of the heat pump.
Considering these allegations and the Agreement in the light most favorable to Taylor, these
minimal allegations of injury suffice to overcome this Rule 12(b)(1) challenge.

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amount due under a lease agreement Curtis, 915 F.3d at 240; Monitech, 2017 WL 6519024 at
*3. Taylor plausibly alleges that Timepayment violated the CLA’s required disclosures; and he
plausibly alleges that he suffered the kind of harm Congress intended to prevent by regulating
these very disclosures.

Taylor also argues that, even assuming the statutory violations constitute procedural,
rather than substantive, violations, he plausibly alleged at least a risk of real harm. (Taylor Obj.
8); Spokeo, 136 S. Ct. at 1549 (stating that, in some cases, an intangible injury may constitute
injury in fact and even the risk of real harm might satisfy concreteness). Viewing all the well-
pleaded allegations in the light most favorable to Taylor, as the Court must at this juncture, the
Court finds that Taylor plausibly states that he suffered “the type of harm Congress sought to
prevent by requiring disclosure.”’ Dreher, 856 F.3d at 345 (quoting Jewell, 828 F.3d at 992).

In sum, Taylor plausibly alleges that Timepayment violated the CLA when it failed to
adequately disclose information related to the amount due under the Agreement, including
failing to clearly state and identify the total amount due on monthly payments or the total amount
due under the Agreement. Next, Taylor alleges that, as a result of the improper disclosures and
the deficiencies of the Agreement, he remained “unaware” of the true financing cost. (Compl.
‘|11[ 68, 158.) Based on this, the Court draws the reasonable inference that Taylor remained
misinformed or oblivious to the full amount due under the terms of the Agreement, And this
status represents precisely the kind of harm Congress sought to prevent in enacting the CLA
provisions at issue. See Monl'tech, 2017 WL 6519024 at *3; Dreher, 856 F.3d at 345.

Because the Complaint plausibly alleges that Timepayment violated Taylor’s statutory
right under the CLA, and these CLA violations caused Taylor to suffer the kind of harm that

Congress sought to prevent in enacting the violated provisions, Taylor adequately satisfies

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Article III’s injury in fact requirement for purposes of the Motion to Dismiss, 'l`he Com't will
deny the Motion to Dismiss as to Count I, the CLA disclosure count.
III. The Court Will Overrule Taylor’s Remaining Objections

Taylor raises two other objections in an effort to sustain Counts II and IV, which the
R&R recommends dismissing for want of standing. The Court will overrule both objections, but
grant Taylor leave to amended his Complaint should he wish to do so.

First, as to Count IV (the Virginia UCC count), Taylor assigns error to the R&R’s finding
that he failed to “satisfy the ‘actual or imminent’ element of the injury in fact analysis.” (R&R
20.) According to Taylor, Curtis “confirms that Mr. Taylor has been injured for purposes of
Article III standing without having already been subjected to improper default or repossession
methods.” (Taylor Obj. 19.) Taylor misunderstands the nature of the rights at issue in Curtz°s
compared to here.

In Curtis, the violation of the plaintiff’s rights occurred upon entering into the written
agreement with the lender because the agreement itself violated the statute. Put differently, the
Electronic Funds Transfer Act (“EFTA”) proscribed parties from entering into the kind of
agreement that the defendant foisted onto the Curtis plaintiff, Here, Taylor claims that acting in
accordance with the terms of the Agreement would violate his rights under the Virginia UCC.
But this represents a hypothetical, future injury. Only a violation of the terms of the Virginia
UCC triggers its protections Unlike in Curtis, the mere existence of the Agreement does not
itself constitute an injury.

Next, Taylor avers that the CLA early termination count (Count II) should survive the
Rule 12(b)(1) challenge for the same reason: according to Taylor, Curtis supports his position

that the Agreement’s early termination provision violates the CLA, thus causing him injury. As

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discussed above, Curtis did not change the requirements for a plaintiff to show the “actual or
imminent” prong of the injury in fact analysis Here, the Magistrate Judge concluded that Taylor
failed to show the “actual or imminent” prong of the injury in fact analysis because he “alleged a
‘speculative, hypothetical inj ury’ that falls short of Article III’s case-or-controversy
requirement” that does not suffice to meet Article III’s requirement that an injury exist or be
imminent confer standing. (R&R 19); Spokeo, 136 S. Ct. at 1548. Specifically, Taylor failed to
allege that but for the allegedly violative early termination provision, he would have terminated
the Agreement early. Even making all reasonable inferences in Taylor’s favor, he failed to
adequately allege an actual or imminent harm stemming from the alleged violation of the CLA.26
Accordingly, the Magistrate Judge did not err in concluding that Taylor lacks standing the bring
Count II based on the Complaint as it now stands In the interest of justice, the Court will grant
Taylor leave to amend his Complaint, should he wish to do so, to address these pleading
deficiencies
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For the reasons stated above, the Court will:

1) adopt in part the findings set forth in the R&R;

2) overrule Timepayment’s Objections;

3) sustain Taylor’s Objection as to Count I;

4) overrule Taylor’s ijections as to Counts II and IV;

5) grant Timepayment’s Motion to Dismiss as to Counts II and IV;

6) deny Timepayment’s Motion to Dismiss as to Counts I, III, and V;

 

26 Although Taylor alleges that he would have sought alternative financing had he better
understood the terms of the Agreement, this alleged harm does not relate to the early termination
provision, meaning it does not confer standing as to Count II.

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7) dismiss Counts ll and IV of Taylor’s Complaint; and
8) grant Taylor leave to amend his Complaint.

An appropriate Order shall issue.

 

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M. gsa Mck
1 UnitedS t istrictJudge
Date: %/% l|//q
Richmond, Virgin a

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